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                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA          )
                                  )
                                  )
v.                                )       Case No. 22-cr-00015-APM
                                  )
STEWART RHODES, et. al.,          )
                                  )
                                  )
                 Defendants       )
                                  )



             DEFENDANT ROBERTO MINUTA’S MOTION TO
                 MODIFY CONDITIONS OF RELEASE


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      NOW COMES Defendant Roberto Minuta by and through his counsel of

record, William L. Shipley, Esp., and respectfully requests this Honorable

Court to modify his conditions of release.

      On January 23, 2023, Defendant Minuta was found guilty by a jury

of Seditious Conspiracy, Conspiracy to Obstruct an Official Proceeding,

Obstruction of an Official Proceeding, and Conspiracy to Prevent Members of

Congress from Discharging Their Duties. See EFC No.450.

      The Court allowed Defendant Minuta to remain on release status

pending sentencing, but modified Defendant Minuta’s conditions of release to

match the most restrictive conditions imposed on his co-defendants, including

home-incarceration and “not have any access to computers, smartphones,

tablets, or any device that would allow him to communicate through either

encrypted or non-encrypted applications.” See EFC No. 452.

      As the Court is aware from the trial record, Defendant Minuta was not an

active user of encrypted messaging applications – he is only listed as a

participant in one of the dozens of Signal chat groups, and only had 1-2

messages in that group which were nothing more than introducing himself to

the others.

      As the Court is also aware from the trial record, Defendant Minuta was

“gifted” his lifetime membership in the Oath Keeper organization in exchange

for the “We The People” tattoo he gave to Defendant Stewart Rhodes. While one

Signal message from Rhodes called Defendant Minuta a “leader” of the New

York chapter of the Oath Keepers, the FBI witnesses admitted there was no

such chapter, and Minuta was not a member of any identifiable state chapter



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of the Oath Keepers – so, as argued in closing – he was apparently the “leader”

of a “chapter” consisting of only himself.

      The restriction on internet access has caused significant difficulty for

Defendant Minuta and undersigned counsel who lives and works in Hawaii as

the Court is aware. The inability to communicate via email, exchanging

documents, transcripts and evidence back-and-forth has hampered the

preparation of post-trial motions, as well as for his upcoming sentencing. The

Court now knows how extensive these legal matters are going to be from a

“global perspective” with the involvement of all the convicted defendants across

the three trials to date. Defendant Minuta and his counsel are navigating the

exchange of thousands of pages of records while having the “no internet”

access restriction.

      Undersigned counsel is aware that internet and cell phone monitoring

software programs exist and are used by Probation and Pretrial Services for

situations such as this. Those programs would alert Pretrial Services if

prohibited internet use was engaged in by an individual on pretrial or

supervised release. A condition prohibiting the downloading or use of any

program or application that allows encrypted communications would provide

the protection that seems to be the subject of concern – particularly given the

lack of any history by Defendant Minuta in using such types of

communications during the course of the charged conspiracies.

      The Bail Reform Act directs a Court to impose the “least restrictive”

conditions or combination of conditions to meet the purposes of the statute.

With respect to Defendant Minuta specifically, the prohibition on internet



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access via a computer or cellular telephone is more than is necessary given the

factual record developed at trial with respect to him.

      Further, Defendant Minuta has been on Pretrial Release status since

March 2021. He has made every appearance as required, and was in Court

each day of trial. He has not had a single violation of any term and condition

of his Pretrial Release. At the time the conditions were imposed, as part of his

compliance with those conditions, he sold every firearm he owned even though

he was not obligated to do so in order to comply with the “shall not possess”

condition. On this basis, Defendant Minuta requests that the “home

incarceration” provision be modified, and that he be placed on “home

detention” with GPS monitoring and be allowed to leave his residence for

employment or other purposes with the permission of his Pretrial Services

Officer.

      Wherefore, Defendant Minuta respectfully requests this Honorable Court

to amend its January 23, 2023, order setting Defending Minuta’s conditions of




release as requested herein.

Dated: April 1, 2023                  Respectfully submitted,

                                      /s/ William L. Shipley
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